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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
COALITION FOR TJ,

Plaintiff,

Civil Action No. 1:21-cv-296

FAIRFAX COUNTY SCHOOL BOARD,
et al.,

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Defendants.
ORDER

THIS MATTER comes before the Court on Defendant’s Motion to
Dismiss and Plaintiff's Motion for a Preliminary Injunction. For
the reasons stated from the bench, it is hereby

ORDERED that Defendant’s Motion to Dismiss is DENIED. It is
further

ORDERED that Defendant Dr. Scott Brabrand is DISMISSED from
the case. It is further

ORDERED that Plaintiff’s Motion for a Preliminary

Injunction is DENIED.

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CLAUDE M. HILTON

UNITED STATES DISTRICT JUDGE
Alexandria, Virginia
May Z6, 2021
